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           United States Court of Appeals
                for the Fifth Circuit                         United States Court of Appeals
                            ___________                                Fifth Circuit

                                                                     FILED
                             No. 23-10246                      January 2, 2024
                            ___________                         Lyle W. Cayce
                                                                     Clerk
State of Texas; American Association of Pro-Life
Obstetricians & Gynecologists; Christian Medical &
Dental Associations,

                                                    Plaintiffs—Appellees,

                                 versus

Xavier Becerra; United States Department of Health
and Human Services; Centers for Medicare and
Medicaid Services; Karen L. Tritz; David R. Wright,

                                      Defendants—Appellants.
               ____________________________

              Appeal from the United States District Court
                  for the Northern District of Texas
                        USDC No. 5:22-CV-185
               ____________________________

Before Southwick, Engelhardt, and Wilson, Circuit Judges.

                          JUDGMENT

      This cause was considered on the record on appeal and was argued by
counsel.
      IT IS ORDERED and ADJUDGED that the judgment of the
District Court is AFFIRMED.
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      IT IS FURTHER ORDERED that each party to bear its own costs
on appeal.




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